                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION

                                        No. 5:24-cv-724-M

JEFFERSON GRIFFIN,                                )
                                                  )
                         Petitioner,              )
                                                  )
                         v.                       )
                                                  )
NORTH CAROLINA STATE BOARD OF                     )
ELECTIONS,                                        )
                                                  )
                         Respondent.              )

             CONSENT MOTION FOR EXPEDITED BRIEFING SCHEDULE

       Petitioner Judge Jefferson Griffin and Respondent North Carolina State Board of Elections

respectfully request that this Court enter an expedited briefing schedule regarding Judge Griffin’s

motion for preliminary injunction. D.E. 31. The Board today has indicated that it is not likely to

issue a final decision on Judge Griffin’s protests until Friday, December 27, 2024, meaning that if

Judge Griffin does not obtain a preliminary injunction staying certification by January 9, 2025, the

Board will certify the results as early as January 10, 2025. Judge Griffin has moved for a

preliminary injunction to enjoin the Board from certifying those results to prevent certification

from mooting these proceedings. To provide the Court with an opportunity to fully consider the

parties’ briefing, hold a hearing, if any, and decide whether to enter a preliminary injunction prior

to the issuance of a certificate of election, the parties have consented1 to the following briefing

schedule:




1The parties have also conferred with counsel for Proposed Intervenor Justice Allison Riggs.
Although Justice Riggs is not yet a party to this action, her counsel also consents to this briefing
schedule.


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               1.        Respondent’s Response due by Wednesday, January 1, 2025.

               2.        Petitioner’s Reply due by Friday, January 3, 2025.

               3.        Hearing, if any, left to the Court’s discretion on either Tuesday, January 7,

               2025, or Wednesday, January 8, 2025.

       Good cause exists to grant this Consent Motion, and the parties respectfully request that

the Court enter an expedited briefing schedule as outlined above and as described in the proposed

order attached hereto.



Dated: December 23, 2024                          Respectfully submitted,

                                                  /s/ Mark M. Rothrock
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*Local Rule 83.1(d) special appearance
forthcoming

                                       Attorneys for Petitioner




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                                   CERTIFICATE OF SERVICE

        I hereby certify that on December 23, 2024, I electronically filed the foregoing Consent

Motion for Expedited Briefing with the Clerk of Court using the CM/ECF system, which will send

notification of such filing to all parties.


                                                    /s/ Mark M. Rothrock
                                                    Mark M. Rothrock




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